       Case 23-12365-SLM                       Doc 14 Filed 03/31/23 Entered 03/31/23 08:25:06                                       Desc Notice
                                                 of Ch11 Mtg I/J SubCh V Page 1 of 3
 Information to identify the case:

 Debtor 1:
                       Masahiko Negita                                                  Social Security number or ITIN: _ _ _ _
                                                                                        EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

 Debtor 2:             Yasuko Negita                                                    Social Security number or ITIN: _ _ _ _
 (Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

 United States Bankruptcy Court:        District of New Jersey                           Date case filed for chapter:         11      3/23/23

            23−12365−SLM
 Case number:

Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/22

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.
Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the party's correct address, resend the
returned notice, and notify this office of the party's change of address. Failure to provide all parties with a copy of this notice may adversely
affect the debtor as provided by the Bankruptcy Code.


                                                  About Debtor 1:                                           About Debtor 2:
 1. Debtor's full name                            Masahiko Negita                                           Yasuko Negita

 2. All other names used in the
    last 8 years

 3. Address                                       8 Floral Terrace                                          8 Floral Terrace
                                                  Tenafly, NJ 07670                                         Tenafly, NJ 07670

                                                  Barry J. Roy
                                                                                                          Contact phone 973−597−9100
 4. Debtor's attorney                             Rabinowitz Lubetkin & Tully, LLC
       Name and address                           293 Eisenhower Parkway, Suite 100                       Email: broy@rltlawfirm.com
                                                  Livingston, NJ 07039

 5. Bankruptcy trustee                            Nancy Isaacson                                            Contact phone (973) 535−1600
       Name and address                           Greenbaum, Rowe, Smith & Davis LLP
                                                  75 Livingston Ave
                                                  Suite 301
                                                  Roseland, NJ 07068−3701

 6. Bankruptcy clerk's office                     MLK Jr Federal Building                                 Hours open: 8:30 AM − 4:00 p.m., Monday −
       Documents in this case may be filed        50 Walnut Street                                        Friday (except holidays)
       at this address.                           Newark, NJ 07102
       You may inspect all records filed in       Additional information may be available at the          Contact phone 973−645−4764
       this case at this office or online at      Court's Web Site:
       https://pacer.uscourts.gov.(800)
                                                  www.njb.uscourts.gov.                                   Date: 3/31/23
       676−6856



                                                                                                           For more information, see page 2 >
Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)                Notice of Chapter 11 Bankruptcy Case                         page 1
     Case 23-12365-SLM                      Doc 14 Filed 03/31/23 Entered 03/31/23 08:25:06                                               Desc Notice
                                              of Ch11 Mtg I/J SubCh V Page 2 of 3
Debtor Masahiko Negita and Yasuko Negita                                                                                      Case number 23−12365−SLM

 7. Meeting of creditors
     Debtors must attend the meeting
     to be questioned under oath. In a
     joint case, both spouses must                                                                           Location:
     attend.                                 April 26, 2023 at 10:00 AM                                      Section 341 Meeting will be
     Creditors may attend, but are not                                                                       conducted by telephone. Please
     required to do so.                      The meeting may be continued or adjourned to a later            consult the docket or contact the
     All individual debtors must provide     date. If so, the date will be on the court docket.
     picture identification and proof of                                                                     trustee appointed to the case for
     social security number to the trustee                                                                   access or call−in information.
     at the meeting of creditors. Failure to
     do so may result in your case being
     dismissed.

 8. Deadlines                        Deadline to file a complaint objecting to discharge or to
     The bankruptcy clerk's office   challenge whether certain debts are dischargeable (see line
     must receive these              11 for more information):
     documents and any required
     filing fee by the following
     deadlines.                              • ifany
                                                  you assert that the debtor is not entitled to receive a discharge of
                                                     debts under 11 U.S.C. § 1141(d)(3), the deadline is the first date
                                                 set for hearing on confirmation of the plan. The court or its designee
                                                 will send you notice of that date later.
                                             •   if you want to have a debt excepted from discharge under 11 U.S.C.
                                                 § 523(a)(2), (4), or (6), the deadline is: .


                                     Deadline for filing proof of claim:                                                     6/1/23 For a governmental unit:
                                                                                                                             9/19/23
                                     A proof of claim is a signed statement describing a creditor's claim. A proof of
                                     claim form ("Official Form 410") may be obtained at www.uscourts.gov or any
                                     bankruptcy clerk's office. You may also contact the Clerk's Office where this
                                     case is pending to request that a Proof of Claim form be mailed to you. The
                                     Clerk's Office telephone number is included on the front of this Notice. Also,
                                     Claims can be filed electronically through the court's website at:
                                     http://www.njb.uscourts.gov under File An Electronic Claim.

                                     Your claim will be allowed in the amount scheduled unless:

                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive  another notice.

                                     If your claim is not scheduled or if your claim is designated as disputed,
                                     contingent, or unliquidated, you must file a proof of claim or you might not be
                                     paid on your claim and you might be unable to vote on a plan. You may file a
                                     proof of claim even if your claim is scheduled.

                                     You may review the schedules at the bankruptcy clerk's office or online at
                                     https://pacer.uscourts.gov.

                                     Secured creditors retain rights in their collateral regardless of whether they file a
                                     proof of claim. Filing a proof of claim submits a creditor to the jurisdiction of the
                                     bankruptcy court, with consequences a lawyer can explain. For example, a
                                     secured creditor who files a proof of claim may surrender important
                                     nonmonetary rights, including the right to a jury trial.


                                     Deadline to object to exemptions:                                                       Filing Deadline:
                                     The law permits debtors to keep certain property as exempt. If you believe that         30 days after the conclusion of the
                                     the law does not authorize an exemption claimed, you may file an objection.             meeting of creditors

                                              If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 9. Creditors
    address
              with a foreign                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                              any questions about your rights in this case.

                                               Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                               court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 10. Filing a Chapter 11
     bankruptcy case
                                               and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                               hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                               generally remain in possession of the property and may continue to operate the debtor's business.

                                                                                                               For more information, see page 3 >




Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)                   Notice of Chapter 11 Bankruptcy Case                            page 2
     Case 23-12365-SLM                   Doc 14 Filed 03/31/23 Entered 03/31/23 08:25:06                                            Desc Notice
                                           of Ch11 Mtg I/J SubCh V Page 3 of 3
Debtor Masahiko Negita and Yasuko Negita                                                                               Case number 23−12365−SLM

                                          Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                          See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until all
                                          payments under the plan are made. A discharge means that creditors may never try to collect the debt from
                                          the debtors personally except as provided in the plan. If you believe that a particular debt owed to you should
                                          be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint and pay the
                                          filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a
11. Discharge of debts                    discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay the filing fee
                                          in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will send you
                                          another notice telling you of that date.

                                          WRITING A LETTER TO THE COURT OR THE JUDGE IS NOT A SUBSTITUTE FOR FILING AN
                                          ADVERSARY COMPLAINT OBJECTING TO DISCHARGE OR DISCHARGEABILITY. IN NO
                                          CIRCUMSTANCE WILL WRITING A LETTER PROTECT YOUR RIGHTS.
                                          The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                          distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
12. Exempt property                       as exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If
                                          you believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                          bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 8.




Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)               Notice of Chapter 11 Bankruptcy Case                          page 3
